USCA4 Appeal: 07-4115   Doc: 194        Filed: 04/19/2010   Pg: 1 of 1




                                                               FILED: April 19, 2010


                            UNITED STATES COURT OF APPEALS
                                FOR THE FOURTH CIRCUIT

                                     ___________________

                                         No. 07-4062
                                     (8:04-cr-00235-RWT)
                                     ___________________


        UNITED STATES OF AMERICA

                                   Plaintiff - Appellee

        v.

        LANORA N. ALI, a/k/a La Nora Ali-Gardner

                                   Defendant - Appellant

                                     ___________________

                                          O R D E R
                                     ___________________

               Upon consideration of the motion for authorization of

        funding under the Criminal Justice Act, the Court grants the

        motion and authorizes the appellant’s portion of the cost of the

        brief, appendix, and any additional transcript.


                                             For the Court--By Direction

                                             /s/ Patricia S. Connor, Clerk
